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                  Hanieh Sadat, GenesysOne Capital, LLC
               10 and GenesysOne Partners, LP
               11
                                         UNITED STATES DISTRICT COURT
               12
                                       CENTRAL DISTRICT OF CALIFORNIA
               13
               14
                  HANIEH SADAT, an individual;            CASE NO. 2:20-cv-01535
               15 GENESYSONE CAPITAL, LLC, a
                  limited liability company; and          COMPLAINT FOR:
               16 GENESYSONE PARTNERS, LP, a              1. SECURITIES FRAUD
                  limited partnership,                       (15 U.S.C. § 77L);
               17                                         2. SECURITIES FRAUD
                                Plaintiffs,                  (15 U.S.C. § 78J(B) &
               18                                            17 C.F.R. 240.10B-5);
                        v.                                3. SECURITIES FRAUD
               19                                            (CAL. CORP. CODE § 25401);
                  CHEN TRADING MANAGEMENT,
               20 LLC, a limited liability company;       4. BREACH OF CONTRACT
                  SILVERSTREAM OPPORTUNITY                   (Trading Services Agreement);
               21 FUND, LLC, a limited liability          5. BREACH OF CONTRACT
                  company; and JIMMY CHEN, an                (SSO LLC Agreement);
               22 individual,                             6. BREACH OF FIDUCIARY
                                                             DUTY;
               23                Defendants.              7. FRAUD AND DECEIT
                                                             (Intentional Misrepresentation
               24                                            Of Fact); And
                                                          8. NEGLIGENT
               25                                            MISREPRESENTATION
                                                             OF FACT
               26
                                                          Demand For Jury Trial
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                1            Plaintiffs Hanieh Sadat, GenesysOne Capital, LLC and GenesysOne
                2 Partners, LP (each individually, a “Plaintiff”, and collectively, the “Plaintiffs”), by
                3 and through their undersigned attorneys, bring this Complaint and allege herein as
                4 follows:
                5                              NATURE OF THE ACTION
                6            1.   This is an action seeking redress for federal and state securities fraud,
                7 breach of contract, breach of fiduciary duty, and intentional and negligent
                8 misrepresentation of fact, in connection with a planned investment partnership.
                9 This action arises under the Securities Laws of the United States, Title 15 of the
               10 United States Code, and statutory and common laws of the State of California.
               11                                      THE PARTIES
               12            2.   Plaintiff Hanieh Sadat (“Sadat”) is an individual residing in Los
               13 Angeles County, California. Plaintiff Sadat’s surname appears as “Sadathendi” or
               14 “Sadat Hendi” on certain documents relevant to this action.
               15            3.   Plaintiff GenesysOne Capital, LLC (“G1 Capital”) is a Delaware
               16 limited liability company registered to transact intrastate business as a foreign
               17 entity in the State of California, with a principal place of business at 750 N. San
               18 Vicente Blvd., Suite 800 West, West Hollywood, CA 90069.
               19            4.   Plaintiff GenesysOne Partners, LP (“G1 Partners”) is a Delaware
               20 limited partnership with a principal place of business at 750 N. San Vicente Blvd.,
               21 Suite 800 West, West Hollywood, CA 90069.
               22            5.   Defendant Chen Trading Management, LLC (“CTM”) is a Delaware
               23 limited liability company with a principal place of business at 835 Baden Ave.,
               24 South San Francisco, CA 94080.
               25            6.   Defendant Silverstream Opportunity Fund, LLC (“SSO”) is a
               26 Delaware limited liability company with a principal place of business at 835 Baden
               27 Ave., South San Francisco, CA 94080.
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                1            7.    Defendant Jimmy Chen (“Chen”) is, upon information and belief, an
                2 individual residing in San Mateo County, California.
                3                              JURISDICTION AND VENUE
                4            8.    This Court has jurisdiction over the subject matter of this action
                5 pursuant to 28 U.S.C. § 1331 for claims arising under Federal Law, and
                6 supplemental jurisdiction under Section 1367(a) for all other state law claims
                7 because Plaintiffs’ claims are so related to the claims within the Court’s original
                8 jurisdiction that they form part of the same case or controversy under Article III of
                9 the United States Constitution. Venue is proper in this Court pursuant to the
               10 agreements of the parties and 28 U.S.C. §§ 1391(b)(2), (c)(1) and (d).
               11                              PRELIMINARY STATEMENT
               12            9.    Plaintiffs fell victim to Defendants’ scheme to induce their interest
               13 and investment in certain securities. After agreeing to work together as business
               14 partners, Plaintiffs’ due diligence revealed that Defendants made persistent and
               15 significant oral and written fraudulent misrepresentations to Plaintiffs in an effort
               16 to secure investment capital for their business operations, which Plaintiffs had
               17 agreed to source in consideration of the contemplated relationship. Defendants’
               18 misconduct is further evident in the material breaches of key agreements governing
               19 the planned working relationship. Plaintiffs have been damaged and suffer
               20 economic and reputational losses as a direct result of Defendants’ fraudulent,
               21 intentionally misleading, and negligent acts and omissions, and seek all remedies
               22 this Court may deem appropriate and proper in light of Defendants’ behavior.
               23                       FACTS RELEVANT TO LEGAL CLAIMS
               24 A.         G1 Capital and Sadat Discuss a Potential Working Relationship with
               25            Chen and CTM to Support G1 Partners’ Investment in the SSO Fund.
               26            10.   Plaintiff Sadat has been working in the financial services sector since
               27 2004, and has developed robust and sophisticated experience, contacts, and
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                1 relationships in that space. She is a broker licensed by the Securities & Exchange
                2 Commission. For the last several years, Sadat has maintained a professional focus
                3 on blockchain technology-enabled digital monetary units, commonly referred to as
                4 cryptocurrencies.
                5            11.   In 2018, Sadat formed G1 Capital as an entity to manage new
                6 investment funds she intended to create. Sadat committed significant resources to
                7 establish G1 Capital and currently serves as its sole managing member.
                8            12.   In April 2018, Sadat formed G1 Partners as a G1 Capital-managed
                9 investment fund, with G1 Capital as the general partner. To establish G1 Partners,
               10 G1 Capital paid professional services vendors approximately $120,000 in direct
               11 administrative costs, and Sadat personally committed substantial non-monetary
               12 resources.
               13            13.   G1 Partners intended to manage investments in a wide variety of asset
               14 classes, including trading in cryptocurrencies and other cryptocurrency-based
               15 financial instruments, a potentially lucrative, and high risk, esoteric asset class not
               16 generally accessible to the investing public. G1 Partners generated significant
               17 interest from potential investors because of its capability to offer a fully-regulated,
               18 fully-compliant fund that included such digital assets, as well as Sadat’s deep
               19 connections and specialized experience in the cryptocurrency investment space.
               20            14.   Sadat first met Defendant Chen, a cryptocurrency trader, in April
               21 2019.
               22            15.   Chen is the sole managing member of Defendant CTM, which is the
               23 sole managing member of Defendant SSO, a limited liability company holding
               24 external investments and trading cryptocurrency futures (the “SSO Fund”).
               25            16.   The SSO Fund trades Bitcoin on several cryptocurrency exchanges
               26 using strategies that exploit volatility and inefficiency in cryptocurrency markets.
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                1            17.   Chen alone directly controls the operations and activities conducted
                2 by both CTM and SSO.
                3            18.   After their first introduction, Chen repeatedly bragged to Sadat about
                4 the impressive performance of his trading strategy. On at least two occasions, Chen
                5 told Sadat that he had generated 280% annualized returns on earlier investments
                6 utilizing SSO trading strategies on cryptocurrency exchanges.
                7            19.   In or around June 2019, Chen, on behalf of CTM and SSO, and Sadat,
                8 on behalf of G1 Capital and G1 Partners, began discussions of forming a business
                9 relationship, whereby Chen, through CTM, would provide trading services to G1
               10 Partners as an agent and fiduciary, and Sadat and G1 Capital would raise and
               11 provide investment capital for these trading services sourced from limited partners
               12 in G1 Partners.
               13            20.   To accommodate the new investment strategy offered by CTM, G1
               14 Capital incurred additional costs to draft fully compliant offering and subscription
               15 documents describing the risks attendant to investment in the strategy the partners
               16 would employ in the SSO Fund.
               17            21.   But for the burgeoning relationship with CTM and the SSO Fund, G1
               18 Capital and G1 Partners would not have incurred the additional costs and
               19 significant time required to modify the existing G1 Partners structure.
               20            22.   To get access to more information about the SSO trading platform and
               21 its financial performance, G1 Capital and Chen, on SSO’s behalf, entered into a
               22 Mutual Non-Disclosure Agreement.
               23            23.   On September 4, 2019, CTM and G1 Capital executed the Trading
               24 Services Agreement, defining the terms of their business relationship.
               25            24.   In the Trading Services Agreement, CTM represented, covenanted
               26 and warranted that it would act “in compliance with all applicable laws and
               27 regulations,” and that CTM alone was responsible for its compliance. CTM
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                1 represented that “all trades, activities and transactions” “shall be fully legal and
                2 compliant with all laws, regulations and ethical guidelines in all jurisdictions
                3 where the transactions are contemplated and/or executed and shall in no manner
                4 violate any laws.” In addition, the Trading Services Agreement provided as
                5 follows:
                6                  [CTM] shall, at all times, during the Term of this
                7                  Agreement, be a fiduciary of [G1 Capital] and [G1
                8                  Partners] and provide [G1 Capital] and [G1 Partners]
                9                  with a high degree of trust, transparency, accuracy, full
               10                  disclosure and honesty in all dealings and shall in no
               11                  manner provide favoritism or bias to other persons with
               12                  whom Trader is providing similar services.
               13 Furthermore, in the Trading Services Agreement, CTM represented that all
               14 information it presented to G1 Capital would be “truthful, accurate, and complete,”
               15 and agreed to notify G1 Capital within three days of learning if any information
               16 had changed or became inaccurate.
               17 B.         G1 Capital’s Due Diligence Reveals Significant Irregularities with
               18            CTM’s Administration of the SSO Fund.
               19            25.   Pursuant to the execution of the Trading Services Agreement, G1
               20 Capital underwent further due diligence in order to fully vet CTM and SSO before
               21 committing any investment capital of G1 Partners’ limited partners to be managed
               22 by CTM, including providing funds to be invested in the SSO Fund.
               23            26.   To assist in Plaintiffs’ consideration of working with Defendants,
               24 Chen provided Plaintiffs with a private placement memorandum intended for
               25 potential investors in SSO (the “PPM”) and a slide deck containing various details
               26 about SSO’s trading strategies (the “SSO Slide Deck”).
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                1            27.   The SSO Slide Deck highlights its relationships with “tier 1 vendors”
                2 with deep experience in cryptocurrencies. SSO explains those relationships offer
                3 its limited partners with “compliance, security, accountability, and reduced
                4 redemption risk.”
                5            28.   As part of their business relationship, and to facilitate G1 Partners’
                6 fundraising efforts, Defendants allowed G1 Partners to incorporate information and
                7 materials from the SSO Slide Deck in G1 Partners’ marketing materials to attract
                8 investor interest.
                9            29.   To confirm the information it was sharing with potential investors, G1
               10 Capital repeatedly requested audited financial statements from Chen to showcase
               11 his represented returns to potential investors.
               12            30.   On at least one occasion, Chen refused to provide requested audited
               13 financial statements, claiming it was “too difficult” for SSO and CTM to make the
               14 necessary calculations.
               15            31.   On at least one occasion, Chen admitted that he did not possess
               16 audited financial statements from any of his trading activities for the SSO Fund.
               17 On another occasion in response to a request for information about returns, Chen
               18 provided only an estimate “off the top of my head,” without providing an official,
               19 more accurate response.
               20            32.   In addition, Chen told Plaintiffs that he and CTM would regularly
               21 record and report unrealized returns on open positions, delaying reporting of
               22 profits and losses until convenient for the SSO Fund.
               23            33.   Plaintiffs were surprised by the lack of audited financial information
               24 given SSO’s representation in the PPM that it would be using Opus Fund Services
               25 (“Opus”), a respected fund administrator with responsibilities for, among other
               26 things, calculating the net asset value of the SSO Fund, managing investor
               27 relations and accounts, and performing necessary clerical and administrative
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                1 functions. The SSO Slide Deck includes the Opus logo among its list of the
                2 vendors it “uses,” describing Opus as “an award winning, independently owned-
                3 and-operated full-service global fund administrator.”
                4            34.   In the Trading Services Agreement, CTM represented and warranted
                5 that all relationships with key vendors are in good standing.
                6            35.   In October 2019, Sadat contacted Opus directly to obtain more
                7 information, but was unable to confirm that Opus in fact managed the SSO Fund.
                8            36.   For the entire period of their association, Defendants did not provide
                9 Plaintiffs with any evidence that Opus was administering the SSO Fund.
               10            37.   Upon information and belief, contrary to the representations in the
               11 PPM and the SSO Slide Deck, the SSO Fund does not use Opus as a fund
               12 administrator.
               13            38.   In the PPM, SSO represented that it “intends to be classified as a
               14 partnership for federal income tax purposes,” and discloses several risks to
               15 investors relating to the SSO Fund’s tax returns. However, Chen admitted to G1
               16 Capital and Sadat that he had not filed a tax return in 2018 for SSO’s trading
               17 activities, claiming he did not “want to be on the hook” for tax liability that an
               18 accountant’s analysis might reveal.
               19            39.   Sadat reasonably believed that Chen, CTM or SSO’s failure to
               20 account for (and settle) its tax liabilities would improperly overstate the value of
               21 the SSO Fund’s returns, and without audited financial statements, it would be
               22 impossible to determine the true value of returns to the SSO Fund’s investors.
               23            40.   Chen promised Sadat that CTM would prepare audited financials for
               24 its past trading activities with the SSO Fund by March 2020, and provide G1
               25 Capital with those financials at that time.
               26            41.   Starting on August 24, 2019, and throughout September and October
               27 2019, Plaintiffs repeatedly requested SSO provide evidence supporting its
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                1 performance claims, but neither Chen, CTM nor SSO provided the requested
                2 evidence.
                3            42.   To receive a direct report of SSO’s ongoing performance, and to
                4 better understand the accounting and reporting structure CTM used for the SSO
                5 Fund, Sadat invested $25,000 of personal funds in SSO on August 28, 2019.
                6            43.   Sadat executed the standard Limited Liability Company Agreement
                7 that SSO provided for its investors (the “SSO LLC Agreement”).
                8            44.   Sadat’s investment granted her a non-managing membership interest
                9 in the SSO Fund and allowed her access to daily and monthly SSO return amounts.
               10            45.   Sadat reasonably believed that direct access to SSO’s performance
               11 and investor returns through her own account would help substantiate Defendants’
               12 representations about their business practices.
               13 C.         Chen and CTM Violated the Terms of a Non-Competition,
               14            Non-Disclosure Agreement with G1 Capital
               15            46.   In July 2019, before entering into the Trading Services Agreement
               16 with CTM, G1 Capital engaged Marissa Kim (“Kim”) as a business partner. Kim
               17 was reasonably well known in the cryptocurrency space, and Sadat relied on Kim
               18 to assist with interpretation of Defendants’ trading algorithm and platform, as well
               19 as with engagement of potential investors in G1 Partners.
               20            47.   To protect the transmission of sensitive business information, G1
               21 Capital and Kim entered into a Mutual Business Confidentiality and Non-
               22 Circumvention Agreement (the “Kim Agreement”) on July 12, 2019. The Kim
               23 Agreement included a non-circumvention provision that prohibited Kim from
               24 independently doing business with individuals and entities that G1 Capital had
               25 introduced to her as potential investors in G1 Capital (defined therein as
               26 “Exclusive Contacts”).
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                1            48.   It is common for investment funds to generate revenue from fees
                2 associated with the trading of capital provided by their investors; investor contacts
                3 are therefore a lucrative and necessary source of investment fund revenue. The
                4 purpose of the non-circumvention provision the Kim Agreement was therefore to
                5 assure that Kim could not capitalize on G1 Capital’s investor networking efforts,
                6 independently solicit G1 Capital’s Exclusive Contacts and their investments in a
                7 separate fund, and profit from those investment trades without paying G1 Capital a
                8 portion of those profits.
                9            49.   Over the ensuing weeks, Kim assisted G1 Capital with investor
               10 outreach for G1 Partners, providing help with explaining to potential investors the
               11 nature of Defendants’ business and the attractiveness of Defendants’ apparent
               12 success. As a partner, Kim had full access to sensitive and confidential business
               13 information generated by G1 Capital.
               14            50.   On July 14, 2019, Sadat introduced Kim to Chen and CTM as one of
               15 G1 Capital’s potential investment resources. Kim and Chen communicated with
               16 each other, directly, relating to the SSO Fund’s trading algorithms, and the
               17 confidential terms G1 Capital and CTM had been negotiating to form an ongoing
               18 working relationship.
               19            51.   Before Sadat’s introductions through G1 Capital, Kim had not been
               20 connected to either Chen, CTM, or SSO in any way.
               21            52.   Chen, CTM and SSO were each aware that Kim was subject to a non-
               22 competition agreement with G1 Capital and Sadat.
               23            53.   On August 4, 2019, Sadat discovered that Kim had recently
               24 introduced Chen to her boyfriend, Bill Barhydt (“Barhydt”) in an attempt to
               25 unilaterally conduct investment activity, without Sadat’s or G1 Capital’s
               26 permission, in violation of the terms of the Kim Agreement.
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                1            54.   Chen later stated to an advisor to G1 Capital that he had met with
                2 Barhydt and considered him “sharp” and someone who could “easily raise $10
                3 million.”
                4            55.   After that introduction, Chen and Barhydt continued to communicate
                5 with one another because Barhydt wanted to invest in SSO directly.
                6            56.   Barhydt investing in SSO directly would also violate the clear terms
                7 of both the Kim Agreement, but importantly for this dispute, the Barhydt
                8 investment would violate the terms of the Trading Services Agreement.
                9            57.   G1 Capital confronted Kim regarding her breach and terminated her
               10 relationship with G1 Capital.
               11            58.   Sadat informed Chen that she terminated Kim as a partner of G1
               12 Capital and that she no longer represented G1 Capital.
               13            59.   Sadat informed Chen that he could not accept either Kim or Barhydt
               14 as investors because that would violate the terms of the Trading Services
               15 Agreement, and defeat the purpose of their working relationship if Chen could
               16 avoid paying G1 Capital its share of any performance fees for G1 Capital’s
               17 Exclusive Contacts.
               18            60.   To further discuss the situation, Sadat asked Chen to meet on
               19 September 19, 2019 in San Francisco with a G1 Capital advisor, Bill Mundell.
               20            61.   At the September 19, 2019 meeting, Sadat and Mundell requested that
               21 Chen execute a Non-Competition Non-Disclosure Agreement on September 19,
               22 2019 (the “NCNDA”) to make it clear that non-circumvention was a priority for
               23 G1 Capital.
               24            62.   When he signed the NCNDA, Chen acknowledged to Sadat and
               25 Mundell that he understood that by signing the agreement, he could not accept
               26 funds from Barhydt because he was an Exclusive Contact ineligible for his direct
               27 engagement.
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                1            63.   In the NCNDA, the parties consented to the jurisdiction of and
                2 acknowledged proper venue in the Central District of California for any actions
                3 arising out of or related to the NCNDA.
                4            64.   CTM is also prohibited from accepting funds from Barhydt. Under the
                5 Trading Services Agreement, CTM agreed that for a period of two years after
                6 introduction, it would not circumvent the other party to engage in business with the
                7 other party’s persons, their employees, officers, directors, agents, representatives,
                8 assigns, subsidiaries or direct referrals introduced by the other party (the
                9 “Representative”, or “Representatives”), unless permission was received or a
               10 preexisting relationship was already established prior to the introduction. Chen and
               11 CTM were introduced to Barhydt through Marissa Kim while she was engaged
               12 with G1 Capital, and therefore, Barhydt is a “direct referral” of G1 Capital and off-
               13 limits to CTM under the clear terms of the Trading Services Agreement.
               14 D.         Evidence of Chen and CTM’s Persistent Misconduct Becomes Clear
               15            65.   By failing to account or pay for any tax liability incurred in 2018 as a
               16 result of SSO’s investments, or by failing to file a tax return with the Internal
               17 Revenue Service in 2018, Chen and CTM were not in compliance with all
               18 applicable United States laws and regulations.
               19            66.   The SSO Slide Deck represented that the SSO Fund trades across
               20 seven exchanges: Coinbase Prime, Binance, OKEx, BitMEX, Kraken, Huobi Pro
               21 and Bitfinex.
               22            67.   Chen told Sadat in the presence of an advisor that Chen or CTM has
               23 actively traded on BitMEX.
               24            68.   Upon information and belief, under its terms of service, BitMEX
               25 prohibits access or use of their services (including the BitMEX trading platform)
               26 for those located, incorporated or otherwise established in, or a citizen or resident
               27 of, any “Restricted Jurisdiction.”
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                1            69.   Upon information and belief, BitMEX considers the United States as a
                2 Restricted Jurisdiction.
                3            70.   All Defendants are either located, incorporated or otherwise
                4 established in, or a citizen or resident of, the United States.
                5            71.   Chen told Sadat that CTM accesses BitMEX for the SSO Fund trading
                6 platform through an alias he created using a United Kingdom resident’s name, and
                7 a virtual private network (“VPN”) to circumvent any automatic exclusion
                8 mechanisms BitMEX and many other companies to restrict access to users
                9 connecting to the internet through an internet protocol (“IP”) address located in a
               10 Restricted Jurisdiction, such as the United States.
               11            72.   Chen and CTM intentionally and knowingly violated BitMEX’s
               12 Terms of Service.
               13            73.   By trading on the BitMEX exchange, falsely assuming the identity of
               14 another person in a permitted jurisdiction, and using a VPN to mask their true
               15 physical location, Chen and CTM not only breached the representations, warranties
               16 and other obligations CTM agreed to in the Trading Services Agreement, but also
               17 provides direct evidence of their intent to mislead others and defraud investors and
               18 potential investors in the SSO Fund.
               19            74.   Upon information and belief, Bitfinex, another Bitcoin exchange that
               20 CTM uses in connection with the SSO Fund, likewise restricts access to persons
               21 and entities in the United States.
               22            75.   In the meantime, Chen continued to misrepresent the basic financials
               23 of the SSO Fund. In late August 2019, Chen told Sadat that he had approximately
               24 $9,000,000 in assets under management, and in October 2019, Chen told Sadat that
               25 he had approximately $16,000,000 in assets under management.
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                1            76.   Sadat asked Chen whether the increase in assets under management
                2 was due to new capital, Chen said it was not, and the increase was due to trading
                3 activity only.
                4            77.   Based on Chen’s representations, Sadat reasonably believed that SSO
                5 Fund had returned >50% during that period.
                6            78.   However, Sadat did not see a corresponding increase in the value of
                7 her personal account with the SSO Fund. Instead, Sadat’s account increased only
                8 9% according to a “dashboard” Chen provided to report her account.
                9            79.   Sadat discussed this discrepancy with Chen, who then admitted that
               10 the increase was due to new capital.
               11            80.   Sadat later received word that Chen had accepted $5,000,000 from
               12 Barhydt in violation of agreements that CTM had made in the Trading Services
               13 Agreement and the NCNDA.
               14            81.   When Sadat confronted Chen regarding his solicitation and retention
               15 of Barhydt’s funds for investment in the SSO Fund, Chen did not deny the
               16 allegation. Rather, Chen admitted that Bayhardt had contributed $400,000, not the
               17 $5,000,000 that Sadat claimed.
               18            82.   Chen’s activity, on behalf of CTM and SSO, has caused Plaintiffs
               19 substantial reputational and monetary harm. Not only were Chen’s return claims
               20 fraudulently misrepresentative and made to form a business relationship with
               21 Plaintiffs, Defendants’ conduct has caused Plaintiffs loss of future business
               22 opportunities, significant monetary waste, and lost efforts in their earnest attempts
               23 to build a successful fund that is fully compliant with all applicable laws and
               24 regulations.
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                1                               FIRST CAUSE OF ACTION
                2                             Securities Fraud (15 U.S.C. § 77l)
                3                         By All Plaintiffs Against All Defendants
                4            83.   Plaintiffs incorporate the preceding paragraphs as though fully set
                5 forth herein.
                6           84.    The Trading Services Agreement, which governs how CTM will
                7 conduct its trading activities within the SSO Fund, and the SSO LLC Agreement,
                8 which defines investment terms for investors in the SSO Fund, are contracts that are
                9 provided by Defendants in an effort to induce investment capital in the SSO Fund.
               10           85.    Because these contracts were: (1) provided by Defendants to Plaintiffs
               11 as a direct result of either (a) the provision of investment capital, or (b) the stated
               12 desire to provide investment capital; (2) taken together, contracts governing
               13 investments in the SSO Fund as a common enterprise, and; (3) explicit in their
               14 shared purpose of generating profits for Plaintiffs as a result of Defendants’ trading
               15 activities, these contracts are properly considered investment contracts and are
               16 therefore securities under United States federal securities law.
               17           86.    The PPM and SSO Slide Deck were key communications used by
               18 Defendants to disclose material financial information about the SSO Fund to
               19 potential investors, such as Plaintiffs, and induce Plaintiffs’ interest in potentially
               20 investing in such.
               21           87.    The PPM and the SSO Slide Deck qualify as prospectuses, or oral
               22 communications that relate to prospectuses, under 15 U.S.C. § 77l(a)(2) and as
               23 defined in Gustafson v. Alloyd Co., 513 U.S. 561, 584 (1995), because they
               24 contained material information relating to the finances and performance activity of
               25 the SSO Fund. The PPM and SSO Slide Deck qualify as public offerings (SEC v.
               26 Murphy, 626 F.2d 633, 644-47 (9th Cir. 1980)).
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                1            88.     Because Defendants’ activity qualifies as public offerings,
                2 Defendants’ activity is subject to civil liability under 15 U.S.C. § 77l.
                3            89.     Using electronic mail, text messages and oral communications to
                4 Sadat, Defendants made untrue statements of material fact or omitted to state
                5 material facts necessary in order to make their statements not misleading.
                6            90.     The untrue statements of material fact, and the omissions of material
                7 facts, were not known by Plaintiffs prior to dealing with Defendants, and by the
                8 exercise of due diligence could not have been known by Plaintiffs prior to Sadat’s
                9 investment in the SSO Fund in September 2019.
               10            91.     Plaintiffs have suffered actual damages as a result of the acts
               11 complaint of herein in an amount unknown at present and to be determined at trial.
               12            92.     Defendants have gained profits that are attributable to the acts
               13 complained of herein in an amount unknown at present and to be determined at
               14 trial.
               15            93.     By engaging in the conduct described above, Defendants violated
               16 Section (a)(2) of 15 U.S.C. § 77l, and Plaintiffs are hereby entitled to actual
               17 damages and any additional punitive damage not taken into account in computing
               18 their actual damages.
               19                                SECOND CAUSE OF ACTION
               20                Securities Fraud (15 U.S.C. § 78j(b) and 17 CFR § 240.10(b)-5))
               21                           By All Plaintiffs Against All Defendants
               22            94.     Plaintiffs incorporate the preceding paragraphs as though fully set
               23 forth herein.
               24            95.     Defendants made a materially false statement that the returns
               25 generated from their trading activities approximated 280%, with the knowledge
               26 that such a statement would induce Plaintiffs to form a business relationship with
               27 CTM and invest funds in the SSO Fund.
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                1            96.   Defendants knew this statement was materially false when it was
                2 made because they confirmed that they do not keep audited financial records of
                3 their trading activity, and thus have no way of proving this fact as true.
                4            97.   Defendants also made a materially false statement in the Trading
                5 Services Agreement that they would conduct their trading activities in compliance
                6 with all U.S. laws and regulations.
                7            98.   Defendants knew this statement was materially false when it was
                8 made.
                9            99.   Defendants made those materially false statements intentionally in an
               10 effort to induce Plaintiffs into entering into a business relationship; Defendants
               11 knew or should have known that Plaintiffs would not have entered into business
               12 with Defendants if they knew the truth about Defendants’ trading practices.
               13            100. Plaintiffs reasonably relied on Defendants’ representations,
               14 warranties, and covenants when determining whether to engage in a business
               15 relationship with Defendants, and had no reason at the time to disbelieve the
               16 validity of the statements.
               17            101. Defendants knew that Plaintiffs were relying on the truthfulness of
               18 Defendants’ statements.
               19            102. Defendants had actual knowledge of the misrepresentations set forth
               20 herein, or acted with reckless disregard for the truth in failing to ascertain and to
               21 disclose such facts. Defendants’ material misrepresentations and/or omissions were
               22 made knowingly or recklessly for the purpose and effect of concealing Defendants’
               23 fraudulent business activity.
               24            103. Plaintiffs have suffered actual damages as a result of the acts
               25 complained of herein in an amount unknown at present and to be determined at
               26 trial.
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                1            104. Defendants have gained profits that are attributable to the acts
                2 complained of herein in an amount unknown at present and to be determined at
                3 trial.
                4            105. By engaging in the conduct described above, Defendants violated
                5 Section 10b-5 of the Exchange Act and Rule 10(b)-5 thereunder (15 U.S.C. § 10(b)
                6 and 17 C.F.R. 240.10b-5), and Plaintiffs are hereby entitled to actual damages and
                7 any additional punitive damage not taken into account in computing their actual
                8 damages.
                9                               THIRD CAUSE OF ACTION
               10                        Securities Fraud (Cal. Corp. Code § 25401)
               11                          By All Plaintiffs Against All Defendants
               12            106. Plaintiffs incorporate the preceding paragraphs as though fully set
               13 forth herein.
               14           107.   The Trading Services Agreement, which governs how CTM will
               15 conduct its trading activities within the SSO Fund, and the SSO LLC Agreement,
               16 which defines investment terms for investors in the SSO Fund, are contracts that are
               17 provided by Defendants in an effort to induce investment capital in the SSO Fund.
               18           108.   Because these contracts were: (1) provided by Defendants to Plaintiffs
               19 as a direct result of either (a) the provision of investment capital, or (b) the stated
               20 desire to provide investment capital; (2) taken together, contracts governing
               21 investments in the SSO Fund as a common enterprise, and; (3) explicit in their
               22 shared purpose of generating profits for Plaintiffs as a result of Defendants’ trading
               23 activities, these contracts are properly considered investment contracts and are
               24 therefore securities under California state securities law.
               25           109.   The PPM and SSO Slide Deck were key communications used by
               26 Defendants to disclose material financial information about the SSO Fund to
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                1 potential investors, such as Plaintiffs, and induce Plaintiffs’ interest in potentially
                2 investing in such.
                3            110. Defendants, in connection with the offer or sale of investment contract
                4 securities to Plaintiffs, made written and oral communications through the PPM,
                5 the SSO Slide Deck, and other communication mediums, that contained untrue
                6 statements of material fact or omitted to state material facts necessary in order to
                7 make their statements not misleading.
                8            111. The untrue statements of material fact, and the omissions of material
                9 facts, were not known by Plaintiffs prior to dealing with Defendants, and by the
               10 exercise of due diligence could not have been known by Plaintiffs prior to Sadat’s
               11 investment in the SSO Fund on September 2019.
               12            112. Plaintiffs have suffered actual damages as a result of the acts
               13 complaint of herein in an amount unknown at present and to be determined at trial.
               14            113. Defendants have gained profits that are attributable to the acts
               15 complained of herein in an amount unknown at present and to be determined at
               16 trial.
               17            114. By engaging in the conduct described above, Defendants violated
               18 Section 25401 of the California Corporate Securities Law of 1968, and Plaintiffs
               19 are hereby entitled to actual damages and any additional punitive damage not taken
               20 into account in computing their actual damages.
               21
               22
               23                              FOURTH CAUSE OF ACTION
               24                    Breach of Contract (Trading Services Agreement)
               25                   By All Plaintiffs Against Defendants Chen and CTM
               26            115. Plaintiffs incorporate the preceding paragraphs as though fully set
               27 forth herein.
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                1            116. By signature of their respective managing members, G1 Capital and
                2 CTM entered into the Trading Services Agreement on September 4, 2019.
                3            117. The Trading Services Agreement is a valid and enforceable contract.
                4            118. G1 Capital performed all terms, conditions, and covenants required to
                5 be performed on its part under the Trading Services Agreement, except as such
                6 performance was excused, rendered impossible, impracticable, and/or futile, by
                7 acts and omission of Defendants. G1 Capital did not waive, release, or discharge
                8 any part of Defendants’ performance under the Trading Services Agreement.
                9            119. A material term of the Trading Services Agreement is CTM’s promise
               10 to provide G1 Capital and G1 Partners with a high degree of trust, transparency,
               11 accuracy, full disclosure and honesty in all dealings.
               12            120. A material term of the Trading Services Agreement is CTM’s
               13 representation, covenant and warranty that it would act “in compliance with all
               14 applicable laws and regulations.”
               15            121. A material term of the Trading Services Agreement is CTM’s
               16 representation that all relationships with vendors and service providers are in good
               17 standing.
               18            122. A material term of the Trading Services Agreement is CTM’s
               19 representation that all information CTM provides is “truthful, accurate and
               20 complete.”
               21            123. Defendants Chen and CTM breached the Trading Services Agreement
               22 by impersonating a resident of the United Kingdom and using a VPN to access the
               23 BitMEX trading platform.
               24            124. Defendants Chen and CTM breached the Trading Services Agreement
               25 by failing to file a Federal tax return for the SSO Fund in 2018.
               26            125. Defendants Chen and CTM breached the Trading Services Agreement
               27 by consistently failing to provide critical financial information about the SSO Fund
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                1 upon request, and by failing to provide audited financials to investors in the SSO
                2 Fund.
                3            126. Defendants Chen and CTM breached the Trading Services Agreement
                4 by failing to provide audited financial information and investor account
                5 information through its service provider Opus, and failed to provide accurate
                6 information regarding investment returns and investor account balances.
                7            127. As a result of Defendants’ breach Plaintiffs have suffered actual
                8 economic losses, substantial damage to new and existing business relationships,
                9 incurred substantial administrative expenses and personal expenses, did not receive
               10 the contractually anticipated investor capital, and suffered substantial and ongoing
               11 reputational harm.
               12            128. Plaintiffs are entitled to actual damages to remedy the harm caused by
               13 Defendants’ breach of the Trading Services Agreement.
               14                               FIFTH CAUSE OF ACTION
               15                        Breach of Contract (SSO LLC Agreement)
               16                         By Plaintiff Sadat Against All Defendants
               17            129. Plaintiffs incorporate the preceding paragraphs as though fully set
               18 forth herein.
               19            130. By signature of Sadat and CTM as the sole managing member of
               20 SSO, Sadat and SSO entered into the SSO LLC Agreement.
               21            131. The SSO LLC Agreement is a valid and enforceable contract.
               22            132. Sadat performed all terms, conditions, and covenants required to be
               23 performed on her part under the SSO LLC Agreement, except as such performance
               24 was excused, rendered impossible, impracticable, and/or futile, by acts and
               25 omissions of Defendants. Sadat did not waive, release, or discharge any part of
               26 Defendants’ performance under the SSO LLC Agreement.
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                1            133. A material term of the SSO LLC Agreement is SSO’s
                2 representation—effectuated by CTM as its sole managing member, and therefore
                3 Chen as the sole managing member of CTM—that it will consistently maintain
                4 records relating to the business and affairs of SSO.
                5            134. A material term of the SSO LLC Agreement is SSO’s
                6 representation—effectuated by CTM as its sole managing member, and therefore
                7 Chen as the sole managing member of CTM— that non-managing member
                8 investors, such as Sadat, are entitled to request, receive, and inspect such business
                9 records, to be provided by CTM as the sole managing member of SSO.
               10            135. A material term of the SSO LLC Agreement is SSO’s
               11 representation—effectuated by CTM as its sole managing member, and therefore
               12 Chen as the sole managing member of CTM—is that CTM will provide quarterly
               13 reports of the SSO Fund’s performance to non-managing member investors, such
               14 as Sadat.
               15            136. Defendants repeatedly refused requests from Sadat for record
               16 inspection, for which she was so entitled under the SSO LLC Agreement.
               17            137. Defendants repeatedly failed to provide quarterly reports of the SSO
               18 Fund’s performance.
               19            138. Defendants breached the terms of the SSO LLC Agreement by
               20 consistently failing to provide critical financial information about the SSO Fund,
               21 both upon Sadat’s request and despite the requirement of to do so quarterly.
               22            139. As a result of Defendants’ breach, Plaintiffs have suffered actual
               23 economic losses, substantial damage to new and existing business relationships,
               24 incurred substantial administrative expenses and personal expenses, did not receive
               25 the contractually anticipated investor capital, and suffered substantial and ongoing
               26 reputational harm.
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                1            140. Plaintiffs are entitled to actual damages to remedy the harm caused by
                2 Defendants’ breach of the SSO LLC Agreement.
                3                               SIXTH CAUSE OF ACTION
                4                                  Breach of Fiduciary Duty
                5                                Cal. Civ. Prac. Torts § 22:18
                6                   By All Plaintiffs Against Defendants Chen and CTM
                7            141. Plaintiffs incorporate the preceding paragraphs as though fully set
                8 forth therein.
                9            142. Under the Trading Services Agreement, CTM agreed to an express
               10 fiduciary relationship with Plaintiffs.
               11            143. Chen, as the sole managing member of CTM, knew of CTM’s
               12 contractual obligations to Plaintiffs as a fiduciary.
               13            144. CTM breached its fiduciary duty to Plaintiffs by failing to take
               14 reasonable steps to safeguard Plaintiffs’ assets and misrepresenting the financial
               15 performance of the SSO Fund.
               16            145. Plaintiffs were damaged as a result of CTM’s breach of fiduciary duty
               17 and Plaintiffs are hereby entitled to a recovery of both compensatory and punitive
               18 damages.
               19                             SEVENTH CAUSE OF ACTION
               20                Fraud and Deceit (Intentional Misrepresentation of Fact)
               21                                California Civil Code § 1709
               22                          By All Plaintiffs Against All Defendants
               23            146. Plaintiffs incorporate the preceding paragraphs as though fully set
               24 forth herein.
               25            147. Defendants represented to Plaintiffs that their trading activities were
               26 compliant with all applicable U.S. laws and regulations, that they would pay tax
               27 expenses generated from their activity, and that they would not circumvent
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                1 Plaintiffs and engage in business opportunities with Plaintiffs’ preexisting
                2 Exclusive Contacts.
                3            148. All of Defendants’ representations were in fact false.
                4            149. Defendants knew that those representations were false at the time
                5 Defendants made them.
                6            150. Defendants intended that Plaintiffs rely on their fraudulent
                7 misrepresentations of fact to induce Plaintiffs into a business relationship, and
                8 knew that if Plaintiffs were aware of the truth of Defendants’ business practices,
                9 they would have never entered into any business relationship with them.
               10            151. Plaintiffs did in fact rely on Defendants fraudulent misrepresentations.
               11            152. As a direct and proximate result of Defendants’ fraudulent
               12 misrepresentations, Plaintiffs have suffered substantial monetary harm,
               13 reputational damage, and loss to future business opportunities, and as a result,
               14 Plaintiffs are entitled to recover an amount unknown and to be determined at trial.
               15                              EIGHTH CAUSE OF ACTION
               16                            Negligent Misrepresentation of Fact
               17                                Cal. Civ. Prac. Torts § 22:14
               18                          By All Plaintiffs Against All Defendants
               19            153. Plaintiffs incorporate the preceding paragraphs as though fully set
               20 forth herein.
               21            154. Defendants misrepresented several facts to Plaintiffs over the course
               22 of their business dealings.
               23            155. Defendants have not provided, despite numerous attempts by
               24 Plaintiffs at retrieving information pertaining to such, any document or proof that
               25 the alleged misrepresentations are in fact true.
               26            156. Defendants had no reasonable ground for believing their numerous
               27 misrepresentations to be true.
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                1            157. Defendants made these representations to Plaintiffs with the intention
                2 of inducing Plaintiffs to rely on this representation and persuade Plaintiffs to enter
                3 into a business relationship.
                4            158. Plaintiffs reasonably relied on these representations in beginning
                5 business formation discussions with Defendants, entering into business with
                6 Defendants, beginning the process of investor outreach and fundraising, and
                7 personally investing $25,000 USD in the SSO Fund.
                8            159. Upon discovery that Defendants’ representations were false, Plaintiffs
                9 took several steps to mitigate harm.
               10            160. As a result of Defendants’ misrepresentations, Plaintiffs incurred
               11 substantial administrative expenses, reputational harm, and loss to future business
               12 opportunities, and are entitled to recover damages in an amount unknown and to be
               13 determined at trial.
               14                                  PRAYER FOR RELIEF
               15            WHEREFORE, Plaintiffs respectfully pray for entry of judgment in their
               16 favor and against Defendants as follows:
               17            (a)   Entering a judgment for a preliminary and permanent injunction
               18 enjoining Defendants, their respective members, officers, principals, shareholders,
               19 agents, servants, employees, attorneys, successors, and assigns; their divisions,
               20 such divisions’ respective members, officers, principals, shareholders, agents,
               21 servants, employees, attorneys, successors, and assigns; and those in privity with or
               22 in active concert or participation with any of them who receive actual notice of the
               23 judgment by personal service or otherwise from any further violations of 15 U.S.C.
               24 § 77l, Sections 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10(b)-5
               25 thereunder, 17 C.F.R. § 240.10(b)-5, as well as any further misappropriation of
               26 Plaintiffs’ confidential information or Exclusive Contacts;
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                1            (b)   Ordering Defendants’ restitution of all actual amounts paid by
                2 Plaintiffs in furtherance of obligations incurred through its contracts with
                3 Defendants;
                4            (c)   Awarding compensatory damages, statutory damages, punitive
                5 damages, exemplary damages, and such other relief as provided by the statutes
                6 cited herein and by operation of law;
                7            (d)   Awarding the costs of bringing suit and other reasonable costs,
                8 including reasonable attorneys’ fees;
                9            (e)   Ordering Defendants to disgorge the illegal trading profits described
               10 herein;
               11            (f)   Awarding pre-judgment and post-judgment interest on any such
               12 monetary relief declared, and
               13            (g)   Awarding Plaintiffs such other and further relief as this Court deems
               14 just and proper.
               15
                    DATED FEBRUARY 14, 2020:               MITCHELL SILBERBERG & KNUPP LLP
               16                                          YAKUB HAZZARD
               17
               18                                          By: /s/ Yakub Hazzard
                                                               Yakub Hazzard
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                                                               Los Angeles, CA 90067-3120
               20                                              Telephone: (310) 312-2000
               21                                               Matthew McFarlane
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               25                                               Attorneys for Plaintiffs Hanieh Sadat,
                                                                GenesysOne Capital, LLC, and
               26                                               GenesysOne Partners, LP
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               1                                DEMAND FOR JURY TRIAL
               2             Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs
               3 demand a trial by jury of any and all issues on which a trial by jury is available
               4 under applicable law.
               5
               6 DATED FEBRUARY 14, 2020:                  MITCHELL SILBERBERG & KNUPP LLP
                                                           YAKUB HAZZARD
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               8
                                                           By: /s/ Yakub Hazzard
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               15
                                                                 Attorneys for Plaintiffs Hanieh Sadat,
               16                                                GenesysOne Capital, LLC, and
                                                                 GenesysOne Partners, LP
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